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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 vs.                                                      CASE NO: 2:16-cr-81-FtM-38CM

 BROWN LASTER, JR.,
 JERRY BROWDY and
 WESLEY PETIPHAR


                                           ORDER1

        This matter comes before the Court on the Government’s Motion in Limine to

 Preclude Defendants from Advising Jury of Penalties They Face (Doc. 275) filed on July

 3, 2017. The Defendants have not responded and the time to do so has expired. (Doc.

 238 at ¶ 2). This matter is ripe for review.

        The Government seeks to preclude Defendants from advising the jury of the

 penalties they face. (Doc. 275). The Court previously granted a Government motion

 seeking identical relief before the first trial. (Doc. 214). Based on the Court’s prior ruling

 and established precedent, the Government’s Motion is granted. See U.S. v. Cox, 696

 F.2d 1294, 1298 (11th Cir. 1983) (noting that the court “does not approve of informing a

 jury of a minimum or maximum punishment.”). Defendants’ counsel are precluded from




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 making statements to the jury regarding the potential penalties that the Defendants may

 face.

         Accordingly, it is now

         ORDERED:

         Government’s Motion in Limine to Preclude Defendants from Advising Jury of

 Penalties They Face (Doc. 275) is GRANTED.

         DONE AND ORDERED at Fort Myers, Florida, this July 11, 2017.




 Copies: Counsel of Record




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